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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

 

COALITION FOR Tu,

Plaintiff,
V. Civil Action No. 1:21cv296
FAIRFAX COUNTY SCHOOL BOARD,

Defendant.

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ORDER

This matter comes before the Court on Plaintiff The
Coalition for TJ’s and Defendant Fairfax County School Board’s
Cross-Motions for Summary Judgment. For the reasons stated in
the accompanying Memorandum Opinion, it is hereby

ORDERED that Plaintiff’s Motion for Summary Judgment is
GRANTED, Defendant’s Motion for Summary Judgment is DENIED, and
Defendant Fairfax County School Board is enjoined from further
use or enforcement of the Fall 2020 Admissions Plan for the

Thomas Jefferson High School for Science & Technology.

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CLAUDE M. HILTON

UNITED STATES DISTRICT JUDGE
Alexandria, Virginia
February 25°, 2022
